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 1                                                       Honorable Ricardo S. Martinez

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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE

10
     CHERYL ENSTAD, et al.,                  No. 2:17−cv−01496−RSM
11
                                             STIPULATION OF DISMISSAL WITH
12               Plaintiffs,                 PREJUDICE
13         vs.
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     PEACEHEALTH,
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                 Defendant.
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     STIPULATION OF DISMISSAL WITH
28   PREJUDICE                                     AMERICAN CIVIL LIBERTIES UNION
     No. 2:17−cv−01496−RSM                   1      OF WASHINGTON FOUNDATION
                                                       901 FIFTH AVE, SUITE 630
                                                          SEATTLE, WA 98164
       Case 2:17-cv-01496-RSM Document 46 Filed 01/02/19 Page 2 of 3



 1          IT IS HEREBY STIPULATED by and between the parties to this action through their

 2   designated counsel that the above-captioned action be and hereby is dismissed with prejudice
 3   pursuant to FRCP 41(a)(1)(A)(ii), each party bearing their own fees and costs.
 4          DATED this 2nd day of January, 2019.
 5
     MANATT, PHELPS & PHILLIPS, LLP               AMERICAN CIVIL LIBERTIES UNION OF
 6   DAVIS WRIGHT TREMAINE, LLP                   WASHINGTON FOUNDATION
                                                  TELLER & ASSOCIATES, PLLC
 7                                                AMERICAN CIVIL LIBERTIES UNION
                                                  FOUNDATION
 8   By:    /s/Harvey L. Rochman
            Harvey L. Rochman
 9          Attorneys for Defendant               By:     /s/Lisa Nowlin________________
            PEACEHEALTH                                   Lisa Nowlin
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     STIPULATION OF DISMISSAL WITH
28   PREJUDICE                                                AMERICAN CIVIL LIBERTIES UNION
     No. 2:17−cv−01496−RSM                          1          OF WASHINGTON FOUNDATION
                                                                  901 FIFTH AVE, SUITE 630
                                                                     SEATTLE, WA 98164
       Case 2:17-cv-01496-RSM Document 46 Filed 01/02/19 Page 3 of 3



 1
                                      CERTIFICATE OF SERVICE
 2

 3          I hereby certify that on this 2nd day of January, 2019, I electronically filed the foregoing:
 4
     STIPULATION OF DISMISSAL WITH PREJUDICE with the Clerk of Court using the
 5
     Electronic Filing System, which will send notification of such filing to the counsels:
 6
     Attorneys for Defendant PeaceHealth:
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     Beth Touschner, WSBA #41062
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     STIPULATION OF DISMISSAL WITH
28   PREJUDICE                                                 AMERICAN CIVIL LIBERTIES UNION
     No. 2:17−cv−01496−RSM                           2          OF WASHINGTON FOUNDATION
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                                                                      SEATTLE, WA 98164
